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               3
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               5    Attorney for Defendants
                    Chris Nevada, P.C. dba Nevada Real Estate Group, NREG, LLC, and Chris Nevada
               6
                                                      UNITED STATES DISTRICT COURT
               7
                                                            DISTRICT OF NEVADA
               8                                                    CASE NO. 3:24:CV-00025-MMD-CSD
                    MISTY CARTER,
               9
                                                                       ORDER GRANTING STIPULATION TO
                                     Plaintiff,
          10                                                           DISMISS
                         v.
          11        CHRIS NEVADA, P.C. dba NEVADA REAL
                    ESTATE GROUP, NREG. LLC, EXP
          12        REALTY, LLC, and CHRIS NEVADA,
          13                                  Defendants._________
          14

          15                  IT IS HEREBY STIPULATED by and between Plaintiff Misty Carter (“Plaintiff”) and

          16         Defendants Chris Nevada, P.C., NREG, LLC, eXp Realty, LLC, and Chris Nevada

          17         (“Defendants”), by and through their respective counsel, as follows:

          18                  1. The parties have mutually decided to dismiss this lawsuit, including any claims or

          19         counterclaims that could have been asserted therein.

          20                  2. The parties agree that each party will bear his, her, or its own costs.

          21                  3. All parties have denied, and continue to deny, the claims asserted by all other parties in

          22         this case.

          23                  4. The lawsuit shall be dismissed with prejudice.

          24                  IT IS SO STIPULATED.

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RENO, NEVADA         49140604.1/065675.0001
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                     Dated this 24th day of June, 2024.                    Dated this 21st day of June, 2024.
               2
                                                                           FENNEMORE CRAIG, P.C.
               3

               4     By:_/s/ Mark Mausert               ___                By: /s/ Shannon S. Pierce
                     Mark Mausert                                          Shannon S. Pierce
               5     729 Evans Avenue                                       7800 Rancharrah Parkway
                     Reno, Nevada 89512                                    Reno, Nevada 89511
               6     Attorneys for Plaintiff                               Attorney for Defendants
               7

               8                                                           DATED this 25th day of June, 2024.
                                                                           LEWIS BRISBOIS
               9

           10                                                              By: /s/ Kyle Maland
                                                                           JEFFREY WINCHESTER
           11                                                              KYLE MALAND
                                                                           WILLIAM PALLARES
           12                                                              633 West 5th Street, Suite 4000
                                                                           Los Angeles, California 90071
           13

           14                                                              Attorneys for Defendant eXp Realty, LLC

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           16
                              Based on the foregoing stipulation of the parties, and for GOOD CAUSE appearing, this
           17
                     case is hereby dismissed with prejudice.         The Clerk of the Court is hereby directed to
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                     administratively close the case.
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                     IT IS SO ORDERED
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           21        DATED this 25th day of June 2024.
                                                                     ______________________________________
                                                                           U.S. DISTRICT COURT JUDGE
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RENO, NEVADA                                                           2
                     49140604.1/
